    Case 2:21-cv-00035-JRG Document 10 Filed 04/09/21 Page 1 of 2 PageID #: 46




                                 UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION



    CLAYTON HAUGEN,
             Plaintiff,

v.                                                                      Civil Action No. 2:21-cv-00035-JRG


ACTIVISION PUBLISHING, INC. ET
AL,

                    Defendants.



           DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO
                            ANSWER COMPLAINT

           Defendants Activision Publishing, Inc., Activision Blizzard Inc., Infinity Ward, Inc., and

Major League Gaming Corp. (“Defendants”) respectfully move the Court to extend the time to

answer Plaintiff’s Complaint and shows the Court as follows:

           The current deadline for Defendants to respond to the Complaint is April 12, 2021 1.

Defendants are seeking an extension up to and through April 26, 2021, as the new deadline to

respond to the complaint, in order to investigate certain allegations in the complaint, specifically

allegations relating to prior contact or lack of contact, and prior contracts or absence of contracts,

between the Plaintiff and the Defendants.

           Counsel for Defendants has conferred with counsel for Plaintiff, and counsel for Plaintiff

has indicated it is unopposed to this motion.




1
    The Court granted two extensions, totaling an additional 45-days.
 Case 2:21-cv-00035-JRG Document 10 Filed 04/09/21 Page 2 of 2 PageID #: 47




Dated: April 9, 2021                    Respectfully submitted,


                                           By: /s/ Melissa R. Smith
                                               Melissa R. Smith
                                               Texas Bar No. 24001351
                                               melissa@gillamsmithlaw.com
                                               GILLAM & SMITH, LLP
                                               303 South Washington Avenue
                                               Marshall, Texas 75670
                                               Tel: (903) 934-8450
                                               Fax: (903) 934-9257


                                           Counsel for Defendants



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of the foregoing document via the

Court’s CM/ECF system per Local Rule CV-5(a)(3) this 9th day of April, 2021.


                                                      /s/ Melissa R. Smith
                                                      Melissa R. Smith



                             CERTIFICATE OF CONFERENCE

       I hereby certify that Counsel for Defendants has met and conferred with Counsel for

Plaintiff regarding this Motion via electronic mail on April 9, 2021. Counsel for Plaintiff has

indicated that it does not oppose this Motion.


                                                     /s/ Melissa R. Smith
                                                     Melissa R. Smith




                                                 2
